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                                                                       U.S. Department of Justice

                                                                       Criminal Division


Office of Policy and Legislation                                       Washington, D.C 20530




                                                                       June 28, 2010




The Honorable William K. Sessions III
United States Sentencing Commission
One Columbus Circle, N.E.
Suite 2-500, South Lobby
Washington, D.C. 20002-8002

Dear Chief Judge Sessions:

            Under the Sentencing Reform Act of 1984, the Criminal Division is required to submit to
the United States Sentencing Commission, at least annually, a report commenting on the
operation of    the sentencing guidelines, suggesting changes in the guidelines that appear to be
warranted, and otherwise assessing the Commission's work. 28 U.S.C. § 994(0). We are pleased
to submit this report pursuant to the Act.


                       The Booker Aftermath and the Current State of                Federal Sentencing


       More than five years after the Supreme Court's decision in Booker v. United States, 543
U.S. 220 (2005), Sentencing Commission data - and our prosecutors' experience in federal
courts across the country - suggest that federal sentencing practice is fragmenting into at least
two distinct and very different sentencing regimes. On the one hand, there is the federal
sentencing regime that remains closely tied to the sentencing guidelines. This regime includes
the cases sentenced by federal judges who continue to impose sentences within the applicable
guideline range for most offenders and most offenses. It also includes cases involving crimes for
which sentences are largely determined by mandatory minimum sentencing statutes. These
crimes include many drug traffcking offenses and certain violent and gun offe'nses.
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            On the other hand, there is a second regime that has largely lost its moorings to the
sentencing guidelines. This significant set of criminal cases includes those sentenced by judges
who regularly impose sentences outside the applicable guideline range irrespective of òffense
type or nature of    the offender. It also includes cases involving celiain offense types for which
the guidelines have lost the respect of a large number of judges. These offense types include
some child pornography crimes and some fraud crimes, including certain frauds involving high
loss amounts.

           We are concerned by this evolution of                federal sentencing into two separate regimes for
several reasons. First, we think it leads to unwarranted sentencing disparities. More and more,
we are receiving reports from our prosecutors that in many federal courts, a defendant's sentence
wil    largely be determined by the judicial assignment of                the case; i.e. which judge in the
courthouse wil conduct the sentencing. Scholarly studies are now beginning to reinforce these
reports. This is extremely problematic. In our consideration of                   federal sentencing policy, we
begin from the principle that offenders who commit similar offenses and have similar criminal
histories should be sentenced similarly. This was the foundational principle of                      the Sentencing
Reform Act of 1984. We are concerned that our sentencing system may be meeting this
principle of sentencing reform less and less.

            Second, we think the existence of                     these dichotomous regimes wil, over time, breed
disrespect for the federal courts. Trust and confidence in the criminal justice system is critical to
successfully bringing justice to all and keeping crime rates low. To the extent that federal
sentencing is an ongoing source of discord, disunity, and criticism, the reputation of
                                                                                                           the federal
courts wil be seriously damaged and the effectiveness of federal criminal justice will be
compromised.

        Third, we think certainty in sentencing is critical to reducing crime rates further and
deterring future criminal conduct, but the current trends are towards less ceiiainty. We hàve
experienced dramatic reductions in crime rates over the past 20 years, and our collective goal
should be to continue on this path in the most just way possible for years to come. The
Sentencing Commission has an important role to play, and it includes ensuring that both
certainty of       punishment and equal justice in sentencing are achieved by the'federal courts.

            For all these reasons and more, we believe the Commission, in the 2010-2011
amendment year, should prepare a comprehensive repOli on the state of federal sentencing that
rèviews these issues and concerns. While we applaud the Commission for its continuing and
valuable data releases over the last five years, we are disappointed that there has been no
systemic analysis of federal sentencing since the Final Report on the Impact of United States v.
Booker on Federal Sentencing, released in March 2006. Since that Report, Commission data
have revealed troubling sentencing trends emerging across the country where, for example,
certain districts are experiencing substantially higher departure and variance rates - and other
districts substantially lower rates - than the national average. Federal sentencing has undergone
a series of constitutional shocks, the full ramifications of which the Commission ought to explore

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and report. The Commission's regional hearings and data releases have been important
contributions to all those concerned about the impact of Booker on federal sentencing policy and
practice. But we think more is needed.

           We continue to urge the Commission to explore new ways of analyzing federal
sentencing data in order to understand federal sentencing outcomes better, identify any
unwarranted sentencing disparities, and determine whether the purposes of sentencing are being
met. But most importantly, we urge the Commission to synthesize all of           the information it has
collected and to issue a repOli on the state of federal sentencing. We think the report should also
layout a way forward to address systemic concerns and ensure that the principles          of sentencing
reform - predictability, elimination of unwarranted disparity, and justicc - are achieved. Going
forward, the Commission should explore how to create a single sentencing regime that wil earn
the respect of the vast maj ority of judges, prosecutors, defense attorneys, Members of Congress,
probation offcers, and the public.


       We also believe the Commission should conduct a review of - and consider amendments
                                                                the judiciary. These reviews
to - those guidelines that have lost the backing of a large part of

should begin with the guidelines for child pornography possession offenses and fraud offenses.
We discuss these issues in greater detail below.


                                                         Congressional Directives

           The Commission's first priority for the coming amendment year - even before the report
we urge above must be to respond to directives from Congress. The Commission is a product
of Congress, exercises authority delegated by Congress, and should make its first priority to
respond to congressional directives.

      A. Report on Mandatory Minimum Sentencing Statutes

       In the National Defense Authorization Act signed into law by President Obama last year,
Congress directed the Sentencing Commission to submit a repOli to the House and Senate
Judiciary Committees on mandatory minimum sentencing provisions in federal law. The
congressional directive includes a variety of requirements for the repOli.

                                                                    this amendment year to
            We believe the Commission should devote a significant part of

completing its review and analysis of mandatory minimums - a key structural component of the
federal sentencing policy - and the mandated report. As U.S. Attorney Sally Yates indicated in
her testimony at the Commission's recent hearing on mandatory minimums, we hope the
Commission's report wil examine not only the data surrounding mandatory minimum
sentencing laws, but also their place in achieving the goals of sentencing and improving public
safety, their evolving role in light of the post-Booker advisory sentencing guidelines system,


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their severity levels, their contribution, if any, to racial and ethnic disparities in sentencing, and
their impact on the federal prison population.

     B. Guideline Amendments to Address Congressional Directives

            The comprehensive health care reform legislation signed into law by President Obama
earlier this year contains a directive to the Commission to address the sentencing guidelines
applicable to health care fraud offenses. This directive is based, in part, on Government
Accountability Office estimates that as much as 10% of                       the budget for Medicare and Medicaid-
amounting to almost $100 bilion - may involve fraud, waste, and abuse. The Commission
should make implementation of                       this directive, and any other legislation enacted into law by
Congress that directs guideline amendments or amends the federal criminal code, a top priority
for the coming amendment year. We believe guideline amendments that address health care
fraud should include increasing the presumptive sentences for offenses involving more than $1
million in losses and clarifying that the aggregate dollar amount of                     fraudulent bilings submitted
to a health care program constitutes prima facie evidence of intended loss.


                                                      Other Guideline Amendments

        Under current law, the Sentencing Guidelines are advisory only and are considered by
federal district couiis along with other statutory factors in determining sentences for convicted
federal defendants. However, the guidelines remain a critical factor in federal sentencing and,
we believe, generally should be the most important factor in federal sentencing. In addition to
completing a structural analysis of federal sentencing and implementing congressional directives
as discussed above, the Sentencing Commission should use this amendment year and the next to
review individual guidelines that are in need of significant reform, address sentencing issues that
                                                                                            1 and address other
pertain to critical enforcement and public safety goals, resolve circuit splits,

court decisions involving the guidelines.
                                                                      * * *

     A. Economic Crimes

       The recent economic crisis has demonstrated the critical need to deter financial crime
through effective criminal prosecutions and the imposition of certain and significant
imprisonment terms for those convicted of such crime. Unfortunately, we have seen with ,
increasing frequency district courts sentencing fraud offenders - especially high-loss fraud
offenders - inconsistently and without regard to the federal sentencing guidelines. A recent
letter signed by various former Attorneys General to a sentencing judge in a fraud case in Iowa

 I See Braxton v. United States, 500 U.S. 344 (1991),



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catalogued               these cases. See, e,g., United States v. Ferguson, No. 3:06-cr-00137-
               just some of

CFD (D. Conn.) (imposing sentences ranging from one year and one day to four years on five
defendants whose guideline ranges included the possibility of life imprisonment and who were
convicted of fraud leading to over $500 million in loss); United States v. Adelson, 441 F. Supp.
2d 506, 512 (S.D.N.Y. 2006) (imposing a 42-month sentence on the former president of a public
company convicted of fraud leading to more than $50 milion of loss); United States v. Stinn, No.
07-CR-00113(NG) (E.D.N.Y.) (imposing a 12-year sentence on a former CEO of a public
company convicted of fraud leading to more than $100 milion in loss and to a guideline range of
life imprisonment); United States v, Turkcan (E.D. Mo.), (imposing a one year and one day
sentence of imprisonment on a defendant who caused approximately $25 milion loss). See also
United States v. Treadwell, 593 FJd 990 (9th Cir. 2010) (affrming a 25-year sentence for a
Ponzi scheme involving a $40 milion loss). '
       We think it is important for the Commission to examine these cases and others like them
and the applicable sentencing guidelines. The current sentencing outcomes in these cases are
unacceptable, and the Commission should determine whether some reforms are needed. Such
reforms might include amendments to the sentencing guideline for fraud offenses, .
recommendations for new statutory penalties, or other policy changes. Because the applicable
guidelines are complex and cover many different types of crime, we think the Commission's
review of this issue wil likely span more than one amendment year.2




2 We believe several changes are needed to USSG §2C 1. 1 as well as §2B 1. 1 to address military procurement fraud
and other related crimes that occur overseas. Specifically, we believe the Commission ought to add an enhancement
in §2CL. 1 - similar to one found in §2B 1, 1 - that increases penalties when the defendant acts to conceal the offense
or make detection and prosecution more diffcult. Unlike the fraud guidelinc, thc guidelines for bribery/public
corruption guideline (USSG §2Cl.) and kickback offenses (USSG §2B4.1) do not provide a sentencing
enhancement for dcfcndants who attempt to evade detection or increase the prosecutorial e.xpenses associated with
detection and investigation by committing a substantial part of their offense outside the United States. The
accompanying background commentary to §2B 1. (b )(9)(B) explains that overseas offenses "are diffcult to detect
and require costly investigations and prosecutions" and "( dJiplomatic processes often must be used to secure
testimony and evidence beyond the    jurisdiction of United States courts,"

  In many    overseas military procurement fraud cases, the ultimate charge brought against the contractor or public
offcial involved is a bribery or other charge referenced to §2C 1.1. In fact, such charges are often more likely in
procurement fraud cases precisely because of    the overseas component - ¡,e., because the "fraud" on the initial
government contract (inflation, bid-rigging, etc,) is very diffcult to prove. For example, in one recent case brought
against a U.S, Army employee working in Kuwait, the allegations leading to the investigation involved widespread
apartment lease inflation, but the ultimate charge (bribery) was part of a sting operation. Although the prosecution
of   that offense involved the same detection and witness problems addressed in §2B 1.1 (b)(9)(B), §2C 1.1 does not
contain such an enhancement.


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   B. Child Exploitation Crimes


       We believe the Commission should complete its review of         the sentencing guidelines
applicable to child exploitation crimes and prepare a report to Congress that might include
recommendations for reforming the CUlTent child exploitation guidelines. The goal of any such
reform would be to update the guidelines to address changing technology and realities
surrounding these offenses, improve the consistency of sentences across child exploitation
crimes, and ensure that the sentences for ceiiain child exploitation offenses adequately reflect the
seriousness of the crimes.


       We think the report to Congress ought to recommend legislation that pei'mits the
Sentencing Commission to revise the sentencing guidelines for child pornography offenses and
that suggests what any revised guidelines might look like. Over the last two de~ades, Congress
has directed the Sentencing Commission to amend the guidelines for child pornography offenses
on a number of occasions. See Treasury, Postal Service, and General Government
Appropriations Act of 1992, Pub. L. 102-141, section 632, October 28,1991,105 Stat. 876; Sex
Crimes Against Children Prevention Act of 1995, Pub, L. 104-71, December 23, 1995, 109 Stat.
774; Prosecutorial Remedies and Tools Against the Exploitation of         Children Today Act of 2003
(the "PROTECT Act"), Pub. L. 108-21, section 401, April
                                                                  30, 2003,117 Stat. 672-73.
Collectively in these bils, Congress directed the Sentencing Commission to inç:rease the base
offense level and to add certain enhancements, including enhancements for the use of a computer
in the commission of the crime and for the number of images involved in the crime.

        We believe changes in the use of   technology and in the way these crimes are regularly
carried out today suggest that the time is ripe for evaluating the current guidelines and
considering whether reforms are warranted. Consideration ought to be given to updating many
aspects of the child pornography sentencing guidelines to better calibrate the severity and
culpability of defendants' criminal conduct with the applicable guideline sentencing ranges.
Because the current guidelines are largely mandated by statute, though, legislation wil be
required to modify them.

    C. Offense Levels for Guidelines Related to Drug Crimes and Other Crimes Subject to
        Mandatory Minimum Sentencing Provisions

        To comply with the congressional mandate that the sentencing guidelines be consistent
with all applicable federal statutes, the Commission has tied its offense levels for drug offenses
to applicable mandatory minimum statutes for these offenses. We think this is the correct policy.'
However, the Commission has not applied a clear policy for how to select a base offense level in
the guidelines for crimes subject to a statutory mandatory minimum.

        We believe for crimes carrying a mandatory minimum, the Commission should generally
choose a base offense level so that after accounting for regularly occurring aggravating and
mitigating factors elsewhere in the guidelines manual, the low end of the guideline range for the

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final offense level is not generally below the mandatory minimum statutory sentence. Using this
 principle, we think the Commission should review the guidelines applicable to drug offenses and
 other crimes that are subject to a mandatory minimum sentencing provision and determine
 whether any amendments consistent with this principle are warranted.

     D. The "Categorical Approach" to Reviewing Predicate Offenses

             We encourage the Commission to complete its review of                   violence"
                                                                            the term "crime of

and the use of the "categorical approach" to determine whether certain prior convictions trigger
higher statutory and guideline sentences. Few statutory and guideline sentencing issues lead to
as much litigation as determining whether a prior offense is categorical1y a "crime of violence,"
an "aggravated felony," or a "drug trafficking offense." The litigation burden is particularly
onerous on couiis, U.S. Attorneys' Offices, and defenders with significant immigration dockets.
Although the Supreme Court has employed the often murky "categorical approach" to define
these terms as they appear in statutes (see Taylor v. United States, 495 U.S. 575 (1990); Shepard
v. United States, 544 U.S. 13 (2005); and Chambers v. United States, 129 S. Ct. 687 (2009)),
because of                        the guidelines, we believe the Commission is free to simplify
                   the advisory nature of

the determination within the guidelines manual and to advise Congress on how to do the same in
federal statutes.

                      problems caused by this approach are countless, and we think this
             The examples of

should conccrn the Commission because the approach has led the cOUlis to inconsistent
sentencing results. We have catalogued these inconsistent results for the Commission in the
past. We do not believe defendants should receive dramatically different sentences simply
because of varying practices in charging and record-keeping among the 50 states and thousands
of counties and parishes throughout the United States. We are hopeful that the Commission's
study wil result in a resolution of this problem that will ultimately reduce the resources needed
to litigate these cases - an important goal, particularly in light of the tremendous impact of the
ilegal immigration docket on the cOUlis.


      E. Environmental Crimes and Appendix A


       There are a number of inaccuracies in the references in Appendix A for environmental
crimes that have been revealed by some recent litigation, and we ask the Commission to address
these as part of a miscellaneous amendment package. For example, in United States v. Lewis)
No. 4:09CR-2-M (W.D. KY), which involved a violation of  the Safe Drinking Water Act, the
sentencing court used USSG §2Q 1.2 based on the reference in Appendix A for the applicable
statute, 42 U.S.C. § 300h-2. This guideline is specifically intended for environmental crimes
involving hazardous or toxic substances or pesticides, none of             which were involved in the case.
A crime arising under 42 U.S.c. § 300h-2 involves improperly injecting material into the




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ground; however, that material need not be designated hazardous or toxic or a pesticide.3 We
think the more appropriate guideline in the Lewis case was USSG §2Q 1.3, which deals with
conventional pollutants, and that Appendix A should refer to both guidelines to address different
factual scenarios that occur in crimes under this law. There are several other issues with the
Appendix A references for environmental crime that we believe also should be remedied:

     1, Certain prohibited conduct is set out in 7 U.S.C. § 136j, although the relevant criminal
          provision for those prohibitions are set out in 7 U.S.C. § 1361. Thus, the Appendix A
          listings of 136, 136j, and 136k probably should be deleted.

    2. Prohibitions are similarly set out in 15 U.S.C. § 2614, but the relevant criminal
          provisions for those prohibitions are set out in 15 U.S.C. § 2615(b). Thus, the first of
          these should be deleted from Appendix A.

    3. Prohibitions are set out in 33 U.S.C. §§ 403 and 407, but the relevant criminal provisions
          for those prohibitions are set out in 33 U.S.C. §§ 406 and 411. Thus, the first two of
          those probably should be deleted from Appendix A. It is also feasible that the
          contaminants involved in prosecutions under 33 U.S.C. §§ 406 and 411 could be
          hazardous, toxic, or pesticides; thus, both USSG §§2Q 1.2 and 2Q 1.3 should be listed in
          reference to both statutes.

    4. Section 1342 of     title 33 U.S. Code addresses a permit program. It sets out neither
          prohibitions nor criminal sanctions, so it should be deleted from Appendix A.

    5. Prohibitions are set out in 33 U.S.C. § 1907, but the relevant criminal provisions for
          those prohibitions are set out in 33 U.S.C. § 1908. Thus, the first of          those should be
          deleted from Appendix A. It is also feasible that the contaminants in prosecutions under
          33 U.S.C. § 1908 could be hazardous, toxic, or pesticides; thus, both USSG §§2Q1.2 and
          2Q 1.3 should be listed in reference to this statute.

    6. The environmental crime of felony failure to notify under 42 U.S.C. § 11 045(b)( 4) is not
        listed in Appendix A. It should be added, and the appropriate guideline to which it
          should be linked is USSG §2Q 1.2.

    F. Southwest Border Crimes and Offense Levels for Guidelines Related to These Crimes

        As the Commission heard in testimony provided at regional hearings held this past
amendment cycle, the Southwest border region of the United States faces myriad cross-border
law enforcement challenges. Alien smuggling and ilegal narcotics, firearms, and human
traffcking that originate in that region have a devastating impact on and pose national security

3 Drinking water (either on the surface or as groundwater) may be contaminated to the point of making people sick
and perhaps killing them by substances that are not categorized as hazardous, toxic, or pesticides. A good example
is ordinary fecal matter, which may well carry pathogens that can profoundly affect human health.

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concerns for both the United States and Mexico. Despite the very serious nature of                 these crimes,
which are generally not subject to statutory mandatory minimum penalties, the sentences
imposed for these crimes typically are just a fraction of the maximum statutory penalty provided
for each offense and are often inadequate. We encourage the Commission to strengthen efforts
to combat the narcotics and firearms traffcking of violent drug cartels as well as dangerous alien
smuggling by reviewing the applicable guidelines to ensure that the recommended penalties truly
are commensurate with the serious consequences of                                    the crimes.

           Much of         the violence along the Southwest border region and Mexico is perpetrated by
drug trafficking organizations vying for control of drug traffcking routes to the United States
and engaging in turf             battles over disputed distribution territories. In 2009, the number of
Mexican drug-related homicides was over 8,000. Of                 the firearms recovered in Mexico and
successfully traced, over 90% originated in the United States. Escalating federal law
enforcement efforts to disrupt the illicit pipelines of arms that fuel violent drug cartels operating
along the U.S.-Mexican border is a priority ofthc Administration and the Depaiiment of Justice.
Thus, we encourage the Commission to review USSG §2K2. In paiiicular, we ask the
Commission to review USSG §2K2.1 in light of 18 U.S.c. § 922(a)(6), which makes it unlawful
to make material false or fictitious statements in connection with the purchase of a firearm from
a licensed federal firearms dealer. Though many firearms offenses are subject to relatively stiff
statutory maximum penalties, they are often not subject to statutory minimum penalties. Thus,
for example, in the case of a "straw purchaser" of a firearm who is prosecuted under 18 U.S.C.
§ 922(a)(6), the result - applying the advisory guidelines under circumstances where a str,aw
purchaser rarely has any prior criminal record and, thus, is able to pass the required background
check - is a sentence that is significantly less than the statutory maximum sentence of 10 years.
Indeed, in straw purchaser cases, which our experience suggests many judges view as mere
"paper violations," the typical applicable guidelines range is between 10 and 16 months with the
possibility now that all could be satisfied by community confinement or home detention. In
reviewing USSG §2K2.l, we ask the Commission to consider (1) increasing the penalties for
crimes involving the ilegal traffcking of semiautomatic firearms; and (2) adding enhancements
for specific offender characteristics in cases where the offender either knew or should have
known that a firearm was either being transferred to a prohibited person or to a foreign country.

        With respect to human traffcking/alien smuggling, the Department observes that while
the methods for smuggling humans typically involve conduct significantly more egregious than
that involved in the illegal re-entry into the United States of a previously deported convicted
felon, the guidelines of USSG §2L 1.1 are calibrated such that they often are disproportionately
lower than the guidelines typically applicable in ilegal re-entry cases. Similarly, the Department
believes that the guidelines in §2S 1.3 pertaining to bulk cash smuggling do not adequately
rcflect the dangers resulting from the smuggling of large amounts of cash that ultimately fuel
Mexican drug cartels. Thus, the Department encourages the Commission to rcview USSG
§§2Ll.l and 2S1.3 with a goal toward reflecting the seriousness of these crimes in the
recommended guideline sentences.



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                                         Circuit Splits and Erroneous Court Decisions

         We urge the Commission to continue to make the resolution of circuit conflicts a priority
for this guideline amendment year, pursuant to its responsibility outlined in Braxton v. United
States, 500 U.S. 344, 347-49 (1991). In this amendment year, we ask the Commission to resolve
whether impermissible "double counting" occurs when the two-level enhancement ofUSSG
§2B 1.1 (b )(8)(C) for violating a court order is imposed on defendants who wilfully fail to pay
child support under 18 US.C. § 228(a)(3). We also believe the Commission should address
court decisions involving erroneous interpretation of                               the guidelines.

           A. United States v. Bell

        In United States v. Bell, 598 FJd 366 (7th Cir. 2010), the defendant was convicted at
trial of                                                                                    the
           willfully failing to pay child suppoii, in violation of21 U.S.C. § 228(a)(3), part of

Deadbeat Parents Punishment Act of 1998 (DPP A). He was sentenced to 24 months of
imprisonment to be followed by one year of supervised release. In arriving at defendant's 24-
month guidelines sentence, which is also the statutory maximum punishment, the sentencing
court effectively reasoned as follows: (l) wilful failures to pay child suppoii are addressed in
USSG §2J1.1 application note 2, which cross-references §2B 1.1; (2) that guideline includes an
enhancement for violations of court orders, see USSG §2B 1.1 (b )(8)(C); (3) because a cross-
reference by default incorporates the "entire offense guideline," see USSG § 1 B 1.5( a), the district
court found that the enhancement was applicable to defendant's offense; and (4) because wilful
failure to pay a child support order always involves a violation of a court order, the enhancement
was applied to defendant.

            The court of appeals reversed in a unanimous published opinion. The couii explained that
impermissible "double counting occurs when the same conduct justifies two upward adjustments
under the Sentencing Guidelines or the same underlying facts that establish an element of                   the
base offense are used to justify an upward enhancement." 598 F.3d at 372. However, double
counting "does not occur if                  the adjustment addresses a suffcient additional or separate aspect of
the defendant's conduct, even if overlapping conduct suppoiis both the underlying level and the
adjustment." I d. Therefore, the court reasoned that the question in the case was "what conduct
is addressed by the cross-referenced base-offense leveL." Id. More specifically, the question was
"whether Bell's conduct. . . may be permissibly teased into severable 'aspects' for purpose of
sentencing." Id. The court apparently concluded that defendant's offense conduct could not be
so "teased" apart, ultimately explaining that, in its view, "there is no reason to believe conduct
that always inflicts multiple distinct harms may validly receive a punishment enhanced on
account of one of           the harms." Id. at 373. Before reaching its ultimate holding, the court of
appeals noted two objections. First, because the government had pointed out that "it is often the
case that the offense level for a specific crime will always permit the inclusion of a particular
enhancement," the court of appeals went out of its way to note that § 228(a)(3) was special,
saying that "the difference between bank robbery and violations of    the DPPA is that there is no
analogous guideline provision for bank robberies that cross-references another guideline


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provision where an enhancement would apply to the circumstances of every conviction under the
statute." Id. at 372-73.

                                                                               the Second and
           The court acknowledged that its decision conflicted with decisions of

Eleventh Circuits, both of which permit double counting based on the distinct harms inflicted by
a single crime. However, the court held that "we have not embraced the 'separáte harm' theory of
double counting." Id. at 373. Rather, the couii held that it must focus "on the conduct that
supports the enhancements." Id. Under Circuit Rule 40( e), the court's circuit-split-creating
decision was circulated to the full Seventh Circuit, but a majority did not favor en banc review of
the matter. See id. at 373 n.1.

       We believe the better view otthe relevant guideline provisions is that ofthe Second and
Eleventh Circuits: the cross-reference provision by default incorporates the whole cross-
referenced guideline, including the enhancements contained therein; and it makes sense that the
advisory guidelines would account for both the child-defrauding and the court-defying aspects of
the offense. See United States v. Maloney, 406 FJd 149, 153-54 (2d Cir. 2005); United States v,
                                                                           its sister courts of
Philips, 363 F.3d 1167, 1169 (11th Cir. 2004). In rejecting the reasoning of

appeals, the Seventh Circuit relied on its conduct-based approach to impennissible double
counting, as established in its prior case law. See, e.g., United States v. Schmeilski, 408 F.3d
917,919 (7th Cir. 2005) (concluding that "(tJhe separate adjustments for the number of    minors
exploited and for the fact that minors were exploited on multiple occasions are not premised on
the same conduct(; aJ defendant could receive the multiple victim adjustment without also
engaging in a pattern of activity involving prohibited sexual conduct."); see also Bell, 598 F. 3d
at 372 (collecting cases).

           We think the Commission should,resolve this circuit conflct.

      B, United States v. King


            In United States v, King, 595 FJd 844,847 (8th Cir. 2010), the Eighth Circuit addressed
the issue of       whether a defendant's conviction for a crime of                       violence that did riot receive
criminal history points under USSG §4Al.l (a), (b), or (c) could nevertheless serve as a predicate
offense for career offender status under USSG §4B 1.1.

      In King, after pleading guilty to one count of possession with intent to distribute 50
grams ofa substance containing cocaine base, in violation of21 U.S.C. § 841(a)(1), the district
court sentenced defendant as a career offender, pursuant to USSG §4B 1.1, to a term of i 96
months. On appeal of    the denial of  his motion to vacate that sentence pursuant to 28 U.S.c.
§ 2255,4 the defendant argued that (1) the district court erred in applying USSG §4A 1.2(a)(2)
(the guideline setting forth the rule for assigning criminal history points to prior felonies) and

4 In his plea agreement, the defendant waived his right to appeal directly any sentencing issues 'and thus, the
government's motion to dismiss his initial direct appeal was granted. ¡d. at 847,848. The defendant's plea
agreement preserved his right to raise a claim of ineffective assistance of counsel in a col)¡iteral proceeding"

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USSG §4B 1.2(c) (the guideline setting forth which felony convictions may'     serve as predicates
for consideration under the career offender guideline); (2) the district court erred in sentencing
him under USSG §4B 1.1 as a career offender inasmuch as only one of       his prior felonies could
serve as predicate for sentencing under the career offender guidelines; and (3) his attorney was
unconstitutionally ineffective for having failed to raise these issues on appeaL. ¡d.


       At the time of  his sentencing, the pre-sentence report ("PSR") concluded that the
defendant was a career offender based on a prior felony drug conviction and two prior crimes of
violence (namely, two convictions for resisting arrest). Id. at 848. Based on a total offense level
of 34 and a criminal history category of VI, the PSR indicated the applicable guideline range for
King to be between 262 and 327 months. Id. The defendant did not object to the PSR
recommendations and, after granting the government's motion for a do\Vnward departure based
on the defendant's substantial assistance, the district court sentenced the defendant to a term of
196 months of incarceration. Id. Notably, on appeal, the defendant conceded that the prior
felony drug conviction was a career offender predicate, but disputed that either of the two
convictions for resisting arrest could serve as predicates for career offender status as these
convictions should not have been assigned criminal history points under USSG §4A1.2(a)(2)
and, consequently, should not have been deemed "prior felony convictions" under USSG
§4B 1.2( c). Id. Under the defendant's interpretation, therefore, he would not have had "at least
two prior felony convictions of either a crime of violence or a controlled substance offense" as
required by the career offender guideline ofUSSG §4B1.1(a) (emphasis added).

        Each ofthe offenses used to predicate King's career offender status was within a group of
related offenses that had been sentenced together. 595 F.3d at 849. Specifically, the PSR
indicated that the defendant had been sentenced in state court on one occasion to two groups of
convictions. Id. The first group included four counts: (1) traffcking in drugs in the second
degree (for which King received a ten-year suspended sentence); (2) unlawful use of a weapon
(for which King received a four-year suspended sentence); (3) resisting or interfering with arrest
(for which King received a four-year suspended sentence); and (4) third degree assault on a law
enforcement offcer (for which King received a one-year suspended sentence). Id. Each of                              the
sentences was to run concurrently with sentences on the other counts in the group. Id. The PSR
assigned a single criminal history point to the grouping of these four sentences, relying on USSG
§4A 1.1 (c). Id. Both the defendant and the government agreed that the four counts were related
(and, by inference, that they were appropriately grouped as a single sentence under USSG
§4A1.1(a)(2)) and that the only count in the group that could potentially serve as a predicate for
career offender status was the resisting arrest count. ¡d. 5 Observing that under the guidelines

however, and on that basis, the district court granted King a certificate of appealability on the issue of ineffective
assistance of counsel in connection with failure to appeal defendant's status as a career offender, Jd
5 Because it did not involve the actual or intended "manufacture, import, export, distribution, or dispensing of a
controlled substance," the drug traffcking conviction in this group is not a "controlled substance offense" under
USSG §4B 1 .2(b) and, therefore, could not serve as a predicate offense for career offender status under USSG
§4B 1. 1.



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grouping rule, a court "use( s J the longest sentence of imprisonment if conCUlTent sentences were
imposed(,J" see USSG §4A1.2(a)(2), the Eighth Circuit concluded that the drug traffcking
offense of  this group should nonetheless have received the criminal history point for the group as
it was the longest sentence imposed, see 595 F.3d at 849.

            The second group, sentenced on the same day as counts in the first group, included three
counts: (1) possession of cocaine base (for which King received a four-year suspended
sentence); (2) resisting or interfering with arrest (for which King received a four-year suspended
sentence); and (3) possession of    marijuana (for which King received a one-year suspended
sentence). ¡d. at 849-50. Each of     these sentences also was to run concurrently with sentences
on the other counts in the group. Id. at 849. The Court of Appeals concluded that with respect
to this second group, it was "unclear which (conviction J should receive a criminal history point"
as the longest sentence the defendant received was imposed for both the possession of marijuana
and resisting arrest convictions. Id. at 850. The defendant argued that under the rule of    lenity,
the criminal history point for the second group should be assigned to the possession of marijuana
conviction - the conviction that could not serve as a predicate for career offender status. ¡d. 6

        According to the defendant, if criminal history points had correctly been assigned under
the grouping rule, neither of his convictions for resisting arrest would have received criminal
history points under USSG §4A1.1(a), (b), or (c). Id. at 849. Thus, because subparagraph (2) of
USSG §4BL.2(c) requires that "the sentences for at least two of the aforementioned felony
convictions are counted separately under the provisions of §4A 1.1 (a), (b), or (c )(,J" neither of
King's resisting arrest convictions, he argues, could have constituted a "prior felony
conviction(J" under career offender guideline 4BL.l(a). ¡d. at 849. Concluding that the
guidelines contemplate that not all prior felonies wil be assigned criminal history points under
subsection §4A1.1(a), (b), or (c) because they are related to other offenses with which they are
grouped and treated as a single sentence, the Eighth Circuit held that it was "clear" that "prior
felony convictions" under the career offender guidelines are "only those that receive a point
under (USSGJ §4AL.l(a), (b), or (c)." Id. at 851. Thus, applying the rule oflenity, the Eighth
Circuit found that it was unclear whether the defendant's convictions for resisting arrest had
received points under subsection (a), (b), or (c) of §4A 1.1, concluded that the district cOUli elTed
in its sentencing of defendant, and remanded the case to the district court for re-sentencing. Id.

            Important to the Eighth Circuit's decision was the notion that USSG §4A 1.1 (£)7 - which
directs the assignment of limited criminal history points for sentences that were not counted
under §4A 1.1 ( a), (b), or (c) because they were subsumed into a related group of sentences and

6 Again, because the possession of
                                     marijuana conviction did not involve the actual or intended "manufacture, import,
export, distribution, or dispensing of a controlled substance," it is not a "controlled substance offense" under USSG
§4B 1 .2(b) and, therefore, could not serve as a predicate offense for career offender status under USSG §4B 1.1.

7 At the time of
                 King's sentencing in 2005, USSG §4Al.(f) did not apply to the grouping and scoring of     King's
sentences as it applied only where a crime of violence was "related" to another crime of violence and it exempted
offenses committed on the same occasion. 595 F.3d at 850. King's sentences for resisting arrest would be scored
today, however, under an amended and broadened USSG §4A l.(f). '

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treated as a single sentence - evidences a guidelines presumption that not all felony convictions
necessarily receive points under USSG §4A 1.1 (a), (b), or ( c) and that, therefore, what might
otherwise be a career offender predicate can be subsumed into a group where a non-predicate
offense actually is assigned the criminal history point for the group and can elude USSG
§4BL.2(c)'s definition as a "prior felony conviction(J" that was "counted separately under the
provisions of §4A1.1(a), (b), or (c)." See id. at 850. We believe that the next amendment cycle
presents an opportunity for the Commission to resolve this frequently recutTing issue by
clarifying the definition of "two prior felony convictions" in USSG §4B 1.2( c) and thereby
clarifying what constitutes a predicate felony conviction for purposes of the career offender
guidelines of USSG §4B 1.1. .
                                                                     * * *

                                                                    Conclusion

           The policy agenda we suggest here is substantial and will take more than' one amendment
year to complete. The range of issues represents the range of    the Commission's statutory
responsibilities: overseeing the systemic health of                              the federal sentencing system and its structural
elements; addressing individual guidelines in need of                               reform; resolving circuit conflicts;
addressing erroneous court decisions; and addressing the technical elements of                                the Guidelines
ManuaL. We look forward to discussing all these issues with you and the other Commissioners
with the goal of   refining the sentencing guidelines and laying out a path for developing effective,
efficient, fair, and stable sentencing policy long into the future.

       Crime rates are at generational   lows, and our goal is to continue to improve public safety
while ensuring justice for all and the effcient use of enforcement and cotTectional resources.
We appreciate the opportunity to provide the Commission with our views, comments, and
suggestions.

                                                                                   Sincerely,


                                                                                   ~ ~/J ~ ~
                                                                                   ~~lewsls:i
                                                                                   Director, Offce of Policy and Legislation




cc: Commissioners
            Judy Sheon, Staff Director
            Ken Cohen, General Counsel


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